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     Federal Defender
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6    JOSEPH ATTAWAY
7

8                              IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                )   Case No. 1:15-cr-00272 DAD-BAM-3
                                              )
12                    Plaintiff,              )   AMENDED STIPULATION TO MODIFY
                                              )   DEFENDANT’S CONDITIONS OF PRETRIAL
13          vs.                               )   RELEASE; ORDER
                                              )
14   JOSEPH ATTAWAY,                          )   Judge: Hon. Barbara A. McAuliffe
                                              )
15                    Defendant.              )
                                              )
16

17          IT IS HEREBY STIPULATED by and between the parties hereto, through their

18   respective counsel, MELANIE L. ALSWORTH, Assistant United States Attorney, attorney for

19   the plaintiff, and JANET BATEMAN, Assistant Federal Defender, attorney for defendant,

20   JOSEPH ATTAWAY, that the conditions of his pretrial release in the above-captioned case may

21   be amended to reflect that Mr. Attaway’s conditions may be modified.

22          The following condition should be removed:

23          1.     The following previously ordered condition of pretrial release shall be vacated:
                   You shall participate in the following location monitoring program component and
24                 abide by all the requirements of the program, which will include having a location
                   monitoring unit installed in your residence and a radio frequency transmitter
25                 device attached to your person. You shall comply with all instructions for the use
                   and operation of said devices as given to you by the Pretrial Services Agency and
26                 employees of the monitoring company. You shall pay all or part of the costs of the
                   program based upon your ability to pay, as determined by the pretrial services
27                 officer; HOME INCARCERATION: You shall remain inside your residence at
                   all times except for medical needs or treatment; religious services; and court
28                 appearances pre-approved by the pretrial services officer;
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1           The following condition should be added in its place:
2

3           1.     You shall participate in the following location monitoring program component and
                   abide by all the requirements of the program, which will include having a location
4                  monitoring unit installed in your residence and a radio frequency transmitter
                   device attached to your person. You shall comply with all instructions for the use
5                  and operation of said devices as given to you by the Pretrial Services Agency and
                   employees of the monitoring company. You shall pay all or part of the costs of the
6                  program based upon your ability to pay, as determined by the pretrial services
                   officer; HOME DETENTION: You shall remain inside your residence at all
7                  times except for employment; education; religious services; medical, substance
                   abuse, or mental health treatment; attorney visits; court appearances; court ordered
8                  obligations; or other activities pre-approved by the pretrial services officer;

9           All other terms and conditions of probation previously imposed shall remain the same.
10   Mr. Attaway’s Pretrial Services Officer, Ryan Beckwith, is in agreement with the proposed
11   changes.
12          Dated: February 26, 2016                     Respectfuly submitted,
13                                                       BENJAMIN B. WAGNER
                                                         United States Attorney
14
                                                  By:    /s/ Melanie L. Alsworth
15                                                       MELANIE L. ALSWORTH
                                                         Assistant U.S. Attorney
16                                                       Attorneys for Plaintiff
17
            Dated: February 26, 2016                     HEATHER E. WILLIAMS
18                                                       Federal Defender
19                                                 By:   /s/ Janet Bateman
                                                         JANET BATEMAN
20                                                       Assistant Federal Defender
                                                         Attorneys for Defendant
21                                                       JOSEPH ATTAWAY
22                                             ORDER
23          The modification of pretrial release set forth in this stipulation IS HEREBY APPROVED.
24
     IT IS SO ORDERED.
25

26      Dated:    March 1, 2016                             /s/ Barbara A. McAuliffe              _
                                                     UNITED STATES MAGISTRATE JUDGE
27

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